                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CURTIS HESTER,                                       )
                                                     )
                      Plaintiff,                     )
                                                     )      Case no. 3:14-cv-552
       v.                                            )
                                                     )
VERIZON WIRELESS,                                    )      JURY TRIAL DEMANDED
                                                     )
                      Defendant.                     )

                                          COMPLAINT

       NOW COMES the plaintiff, CURTIS HESTER, by and through his attorney, MITCHEL

LUXENBURG, and for his complaint against VERIZON WIRELESS, plaintiff states as follows:


                               I.        PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Credit

Reporting Act (hereinafter “FCRA”), 15 U.S.C. §1681, et. seq.


                                   II.    JURISDICTION & VENUE

       2.     Jurisdiction arises under the Fair Credit Reporting Act 15 U.S.C. §1681, et. seq.,

and pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

       3.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                          III.   PARTIES

       4.     CURTIS HESTER, (hereinafter, “Plaintiff”) is an individual who was at all

relevant times residing in the City of Charlotte, County of Mecklenberg, State of North Carolina.

       5.     At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1681a(c).




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       6.      VERIZON WIRELESS, (hereinafter, “Defendant”) is a business entity that

provides cellular telephone service to consumers such as Plaintiff. Defendant is incorporated in

the State of Minnesota.

       7.      At all relevant times, Defendant was a “person” as that term is defined by 15

U.S.C. §1681a(b).

                                       IV.     ALLEGATIONS

       8.      At all relevant times, credit reports as alleged in this pleading are “consumer

reports” as that term is defined by 15 U.S.C. §1681a(d).

       9.      Defendant has been providing derogatory and inaccurate statements and

information relating to Plaintiff and Plaintiff’s credit history to various credit reporting agencies,

as that term is defined by 15 U.S.C. 1681a(f).

       10.     Defendant is aware that the credit reporting agencies to which they are providing

this information are going to disseminate this information to various other persons or parties who

will be reviewing this information for the purpose of extending credit, insurance or employment.

       11.     The inaccurate information of which Plaintiff complains is an account, or trade-

line, that reflects Plaintiff’s putative history of credit with Defendant. Specifically, Plaintiff

asserts that he had an account with Defendant, which he closed on or about October 18, 2013.

At the time Plaintiff closed the account he paid the account down to a zero dollar balance and

received confirmation from Defendant reflecting same.          Since the date Plaintiff closed his

account with Defendant, he has incurred no further charges on his former account and has made

no effort to re-open his former account with Defendant.

       12.     Notwithstanding the foregoing, Defendant has disseminated information that

Plaintiff’s former account is delinquent and has an outstanding balance. Further, Defendant has



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reported a second account ostensibly for which Plaintiff is financially responsible, also being

reported as delinquent with an outstanding balance (hereinafter “the inaccurate information”)

       13.     The inaccurate information negatively reflects upon the Plaintiff, Plaintiff’s credit

repayment history, Plaintiff’s financial responsibility as a debtor, and Plaintiff’s credit

worthiness.

       14.     Credit reports containing the inaccurate information have been and continue to be

disseminated to various persons and credit grantors, both known and unknown.

       15.     On or about February 18, 2014, in or around April 2014, and again on or about

May 8, 2014, Plaintiff disputed the inaccurate information with the three (3) major credit

reporting agencies, Equifax Information Services, Inc (hereinafter, “Equifax”), Experian

Information Solutions, Inc, (hereinafter, “Experian”) and Trans Union, LLC (hereinafter, “Trans

Union) by written communication to their respective representatives and by following the

aforementioned reporting agencies’ established procedures for disputing consumer credit

information.

       16.     Furthermore, Plaintiff enclosed documents and other information with his

dispute(s) to the credit reporting agencies that either proved that the disputed information

contained within his credit reports was inaccurate or, at the very least, provided evidence that

supported Plaintiff’s contentions that the disputed information was inaccurate.

       17.     Upon information and belief, within five (5) days of Plaintiff disputing the

inaccurate information with Equifax, Equifax notified Defendant that Plaintiff disputed the

inaccurate information and the nature of Plaintiff’s dispute.

       18.     Defendant received notification from Equifax that Plaintiff disputed the

inaccurate information and the nature of Plaintiff’s dispute.



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       19.     Upon information and belief, Defendant received from Equifax, notice of

Plaintiff’s dispute by an Automated Consumer Dispute Verification Notice.

       20.     Upon information and belief, Defendant received from Equifax additional

information and documentation that Equifax had received from Plaintiff relative to and in

support of Plaintiff’s dispute.

       21.     Defendant then and there owed Plaintiff a duty to assist the Equifax in a re-

investigation into the disputed information being reported about Plaintiff by Defendant.

       22.     Upon information and belief, within five (5) days of Plaintiff disputing the

inaccurate information with Experian, Experian notified Defendant that Plaintiff disputed the

inaccurate information and the nature of Plaintiff’s dispute.

       23.     Defendant received notification from Experian that Plaintiff disputed the

inaccurate information and the nature of Plaintiff’s dispute.

       24.     Upon information and belief, Defendant received from Experian, notice of

Plaintiff’s dispute by an Automated Consumer Dispute Verification Notice.

       25.     Upon information and belief, Defendant received from Experian additional

information and documentation that Experian had received from Plaintiff relative to and in

support of Plaintiff’s dispute.

       26.     Defendant then and there owed Plaintiff a duty to assist Experian in a re-

investigation into the disputed information being reported about Plaintiff by Defendant.

       27.     Upon information and belief, within five (5) days of Plaintiff disputing the

inaccurate information with Trans Union, Trans Union notified Defendant that Plaintiff disputed

the inaccurate information and the nature of Plaintiff’s dispute.




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       28.     Defendant received notification from Trans Union that Plaintiff disputed the

inaccurate information and the nature of Plaintiff’s dispute.

       29.     Upon information and belief, Defendant received from Trans Union, notice of

Plaintiff’s dispute by an Automated Consumer Dispute Verification Notice.

       30.     Upon information and belief, Defendant received from Trans Union additional

information and documentation that Trans Union had received from Plaintiff relative to and in

support of Plaintiff’s dispute.

       31.     Defendant then and there owed Plaintiff a duty to assist Trans Union in a re-

investigation into the disputed information being reported about Plaintiff by Defendant.

       32.     Notwithstanding Plaintiff’s efforts and Defendant’s duties, Defendant continued

to publish and disseminate such inaccurate information to various credit reporting agencies.

       33.     Despite Plaintiff’s efforts to date, Defendant has nonetheless deliberately,

willfully, intentionally, recklessly and negligently repeatedly failed to perform reasonable re-

investigations of the above dispute as required by the FCRA, has failed to remove and/or correct

the inaccurate information, has failed to note the disputed status of the inaccurate information,

and has continued to report the derogatory inaccurate information about Plaintiff.

       34.     Plaintiff has been damaged, and continues to be damaged, in the following ways:

               a. Denial of certain credit opportunities;

               b. Out of pocket expenses associated with disputing the information only to find
                  the information to remain on the credit report;

               c. Emotional distress and mental anguish associated with having incorrect
                  derogatory personal information transmitted about Plaintiff to other people
                  both known and unknown;

               d. Denial of credit, loans, financing and/or other damages, not yet known by
                  Plaintiff; and,



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               e. Decreased credit score which may result in inability to obtain credit on future
                  attempts.

       35.     At all times pertinent hereto, Defendant was acting by and through its agents,

servants and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of Defendant herein.

       36.     At all times pertinent hereto, the conduct of Defendant, as well as that of its

agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly

negligent disregard for federal and state laws and the rights of Plaintiff herein.

       37.     Defendant violated sections 1681n and 1681o of the FCRA by engaging in the

following conduct that violates 15 U.S.C. §1681s-2(b):

               a. Willfully and negligently failing to conduct an investigation of the inaccurate
                  information that Plaintiff disputed;

               b. Willfully and negligently failing to review all relevant information concerning
                  Plaintiff’s account provided to this Defendant;

               c. Willfully and negligently failing to report the inaccurate status of the
                  inaccurate information to all credit reporting agencies;

               d. Willfully and negligently failing to properly participate, investigate and
                  comply with the reinvestigations that were conducted by any and all credit
                  reporting agencies concerning the inaccurate information disputed by
                  Plaintiff;

               e. Willfully and negligently continuing to furnish and disseminate inaccurate and
                  derogatory credit, account and other information concerning the Plaintiff to
                  credit reporting agencies and other entities despite knowing that said
                  information was inaccurate; and,

               f. Willfully and negligently failing to comply with the requirements imposed on
                  furnishers of information pursuant to 15 U.S.C. §1681s-2(b)

       38.       Defendant’s conduct was a direct and proximate cause, as well as a substantial

factor, in causing the injuries, damages and harm to Plaintiff that are outlined more fully above,

and as a result, Defendant is liable to compensate Plaintiff for the full amount of statutory, actual

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and punitive damages, along with attorneys’ fees and costs, as well as such other relief permitted

by law.

                                       V.      JURY DEMAND

          39.   Plaintiff hereby demands a trial by jury on all issues so triable.

                                    VI.     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, CURTIS HESTER, by and through his attorneys, respectfully

prays for Judgment to be entered in favor of Plaintiff and against Defendant as follows:

                a.     All actual compensatory damages suffered;

                b.     Statutory damages of $1,000.00;

                c.     Punitive damages;

                d.     Plaintiff’s attorneys’ fees and costs; and,

                e.     Any other relief deemed appropriate by this Honorable Court.

                                                               Respectfully submitted,
                                                               CURTIS HESTER


                                                        By:     s/ Mitchel Luxenburg
                                                                Attorney for Plaintiff

   Dated: October 7, 2014

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